Case 1:23-cr-00146-DG-RML          Document 213        Filed 12/02/24     Page 1 of 10 PageID #:
                                           3398




                                                         December 2, 2024
    VIA ELECTRONIC FILING
    Hon. Diane Gujarati
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, NY 11201

                       Re:     U.S. v. Cherwitz, et el., No. 23-cr-146 (DG)

    Dear Judge Gujarati:

            Defendants move this Court for leave to issue Rule 17 subpoenas to
            and Autymn Blanck directing them to produce their google drive meta-data/edit
    history related to two google documents that correspond with the electronic journals
    (Journal Set 1 and Journal Set 2) that the government produced in Rule 16 discovery.
    These Journal Sets were represented as having been written by            in 2015 during the
    days following her departure from OneTaste. After having raised authenticity concerns
    about these journals for months with no meaningful response from the government and
    after an unsuccessful motion for the production of discovery related to these electronic
    journals [ECF No. 160], Defendants have recently obtained compelling evidence
    developed during the state court civil case that demonstrates that the electronic journal
    sets were actually authored in 2022, not 2015, as represented by the government. This
    new evidence also shows that the Journal Sets were the product of a group writing project
    which included Netflix film maker Sarah Gibson and underwent extensive edits over the
    course of 10 months before being shared with FBI Agent McGinnis on March 9, 2023.

            Defendants also seek an Order commanding the government to immediately
    produce the Journal Sets 1 and 2 in their original form that         sent to agent McGinnis
    on March 9, 2023. It should be noted that Defendants made this exact request in July and
    again in September, on both occasions being told either that no such material exists or
    Defendants were not entitled to it. Defendants even asked this Court to Order the
    disclosure, but the request was denied. Critically, it now appears that agent McGinnis
    may have materially altered the Journal Set 1 by deleting a heading before it was
    produced to the Defendants as a PDF in Rule 16 discovery. The government should
    immediately produce the Journal Sets exactly as they were received in their original
    format to get to the bottom of this serious issue.
Case 1:23-cr-00146-DG-RML          Document 213        Filed 12/02/24      Page 2 of 10 PageID #:
                                           3399




            Defendants must be permitted to obtain the necessary metadata/edit history for an
    expert to examine the electronic journals for the purpose of testifying about the origins of
    the journals, the authorship of the journals, and most importantly the date on which the
    journal was first authored. Such evidence is relevant to the admissibility of the journal
    entries and the credibility of        who fabricated evidence for the benefit of a Netflix
    film purporting to be a documentary as well as the government’s prosecution. Defendants
    further request a hearing whether agent McGinnis altered evidence and reserves the right
    to renew their motion to dismiss based on government misconduct or any other
    appropriate relief.

      Government Produces               Electronic Journals Re: Experiences at OneTaste

            On September 13, 2023, the government made a Rule 16 disclosure of two PDF
    documents that were described as “Journal entries regarding experiences at OneTaste
    maintained by Individual #10” Individual #10 is                 . The first PDF purported
    to be a set of a journal entries commencing on the date “January 15” (“Journal Set 1”)
    [Exhibit A – Journal Set 1 (165920-1659390]. The second PDF purported to be a set of
    journal entries commencing on “February 24” (“Journal Set 2”) [Exhibit B – Journal Set
    2 (165940-165950)] (collectively referred to as “Journal Sets”) The Journal Sets purport
    to have been written exclusively by                 in 2015 after she left OneTaste; they
    express highly negative views about OneTaste. For example, the first paragraph of
    Journal Set 1 screenshot directly from the document is reflected below:




            The government did not indicate how or when it came into possession of the two
    PDFs or even whether it received the documents in PDF format. Defendants discerned
    that portions of the Journal Sets were read aloud by Autymn Blanck in the Netflix movie
    “Orgasm Inc: The Story of OneTaste.” Autymn claimed that her sister authored the
    journal entries in the immediate aftermath of her departure from OneTaste in 2015. The
    same representation was made to the Defendants in this prosecution.


                                                 2
Case 1:23-cr-00146-DG-RML         Document 213        Filed 12/02/24     Page 3 of 10 PageID #:
                                          3400




            The journal entries were fishy for three reasons: (1) the writing style had a
    distinctive cinematic quality (see above); (2)         counsel had never mentioned this
    compelling evidence when negotiating a settlement agreement with OneTaste in 2015;
    and (3) the existence of these journals was suspiciously convenient, since it allowed
             story to be included in the Netflix film without her technically violating her
    settlement agreement with OneTaste, which included a non-disparagement clause. Recent
    3500 disclosures reveal that          never mentioned the existence of these journals in
    her lengthy interview with agent McGinnis in 2018 and only told McGinnis about the
    journals in June 2022 (around the time they were being prepared for Netflix).

            Undersigned counsel later discovered that the Journal Sets produced by the
    government had also been produced to counsel in the pending California civil case,
    OneTaste v.                 . [Exhibit C – Corresponding Journal Sets Produced in civil
    case] The versions produced in the civil case were identical to the versions produced in
    this case with one distinctive difference, namely the version produced in the civil case
    had a bold heading that read “Series One: Darkness.” The heading was not reflected in
    the government’s production in this case. The following is screenshot directly from the
    version produced in the civil case with the heading.




    This omission of the cinematic heading “Series One: Darkness” from the version
    produced to Defendants by the government raised counsels’ suspicions about who
    authored the electronic journals; whether they had actually been prepared for Netflix
    rather than in 2015; why there were different versions of the journals; and how many
    different versions existed.




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Case 1:23-cr-00146-DG-RML          Document 213         Filed 12/02/24      Page 4 of 10 PageID #:
                                           3401




        Defense Counsel Asks the Government to Provide Discovery Concerning the
                              Journal Sets with No Success

            On July 18, 2024, counsel for Ms. Cherwitz, Duncan Levin, sent the AUSAs in
    this case an email seeking the metadata for Journals Set 1 and 2. [Exhibit D – Email
    Communication from Duncan Levin to AUSAs (7/18/2024)] Mr. Levin’s communication
    also sought, inter alia, “the original journals or files” associated with the PDFs, any email
    communications which were received in connection with the journals, and the identity of
    the individual who sent the journals to the government.

            On July 29, 2024, Mr. Levin followed up with the government again asking for
    the journal metadata, pointing out that Defendants may seek to have it analyzed. [Id.] On
    July 30, 2024, the government responded by sending two email communications showing
    that        shared “Journal Set 1” and “Journal Set 2” with Agent McGinnis on March 9,
    2023, as a google document. [Exhibit E – Google Share:                  to Agent
    McGinnis (3/9/23)] The government refused to provide the documents in their original
    format and provided no metadata for the original Journal Sets.

            Government Produces               Handwritten Journals on July 30, 2024

            On July 30, 2024, the government produced 217 pages of documents identified as
    “Photocopies of physical journals provided by Individual #10” (ONETASTE00256871-
    ONETASTE00257087” (“Handwritten Journals”) [ECF No. 111, pg. 2] The government
    did not reveal when or how it received the handwritten journals, nor did it explain why
    they were produced nearly a year after the electronic journals. The belated disclosure was
    particularly troubling since the vast majority of the handwritten journals (191 pages)
    constituted Brady material, that is, writings that fail to corroborate       claims of
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    coercion.

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            On November 15, 2024, the government disclosed by way of an affidavit from
    FBI agent Daniel Schmidt that Autymn Blanck claimed that she was storing
    handwritten journals and a separate hard drive for “safekeeping.” [Exhibit F – Affidavit
    of FBI Agent Daniel Schmidt] A deposition of Autymn Blanck conducted in August
    2024 reflects that Autymn provided            handwritten journals and her hard drive to
    agent McGinnis in and around April 15, 2024. [Exhibit G – De-Designated Portions of
    Autymn’s Deposition] Although most of Autymn’s deposition is protected under the state
    court protective order and is inaccessible to Defendants, this portion of her testimony was
    removed from the protective order. [Exhibit H – Court Order De-Designating Portions of
    Autymn’s Deposition] Autymn communicated with McGinnis after receiving a subpoena
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Case 1:23-cr-00146-DG-RML          Document 213        Filed 12/02/24     Page 5 of 10 PageID #:
                                           3402




            The remaining 24 pages of the handwritten journals mirrored the electronic
    Journal sets 1 and 2 that provided uniquely negative accounts of OneTaste. However, the
    handwritten pages that corresponded to the electronic Journals Sets 1 and 2 looked
    markedly different than         other journal entries, raising even more concerns about
    the authenticity of the handwritten journals and the timing of when they were created.

            Undersigned counsel consulted with forensic linguist Dr. Robert Leonard on the
    question of whether the Journal Sets (and the corresponding handwritten entries) were
    actually written by         Dr. Leonard’s Rule 16 expert disclosure opines that the
    journal entries were not written exclusively by        He reached this conclusion by
    comparing the journal entries to known writing samples of          ECF No. 178

      Defendants Express Concern about the Authenticity of the Journals and Ask the
                 Government and the Court for Appropriate Disclosures

            On September 21, 2024, undersigned counsel wrote a lengthy letter to the
    AUSAs, concerning the authenticity of the journals, and again asking for certain
    disclosures that would allow Defendants to explore when the electronic journals were
    authored and by who. [Exhibit I – Bonjean’s 9/21/24 Letter to AUSA Re:                   .
    journals] [ECF No. 160-1] Defendants also sought the information to determine whether
    the suspicious handwritten journal entries pre-dated the electronic version and whether
    Dr. Leonard’s opinion that        was not the sole author of the entries could be backed
    up by metadata. The government responded by stating that it did not have an obligation to
    produce the requested material.

           On September 26, 2024, undersigned counsel wrote a letter motion to this court
    seeking, inter alia, more comprehensive Brady material from the government including
    the metadata related to        journals. [ECF Doc. No. 160 at 7-8] Defendants wrote:

    in the civil case seeking the materials. According to Autymn’s sworn testimony she sent
    the materials to McGinnis after advised her to send the materials to him and that
    OneTaste attorneys could get it from him. He told her, in sum and substance, that she
    could not produce what she did not have, intimating that she should avoid complying
    with a subpoena by sending him the materials [Exhibit G at pgs. 120-123] Autymn did as
    McGinnis suggested, sending him             handwritten journals and hard drive in April of
    2024 (seven months ago). The government only got around to producing it to the defense
    two weeks.

                                                 5
Case 1:23-cr-00146-DG-RML           Document 213        Filed 12/02/24      Page 6 of 10 PageID #:
                                            3403




             The material sought is immediately discoverable under Rule 16 and
             Brady. Defendants have the right to investigate the origins of these
             journals, who was responsible for writing them, and when they were
             authored. Defendants must be provided with complete discovery to
             prepare for trial, for consideration by potential experts, and to determine
             whether the government relied on fabricated evidence to obtain an
             indictment in this case. Accordingly, Defendants respectfully request that
             this Court order the government to produce the materials identified in the
             attached letter.

             This Court denied Defendants’ letter motion on September 27, 2024.

        New Evidence Developed in the California State Court Civil Case Shows that the
        Journal Sets Were Authored by Numerous People and Created in 2022, not 2015.

            Last month, undersigned counsel obtained a copy of a Declaration prepared by an
    expert retained by OneTaste counsel in the California civil case. The Declaration attached
    here as Exhibit I was prepared by Jason Frankovitz of Quandry Peak Research on
    October 11, 2024. Mr. Frankovitz was provided with access to Autymn Blanck’s google
    drive link that she shared with her sister       for the purpose of reviewing the edit
    history of          electronic journals (produced as Journal Sets 1 and 2 here).2 The
    review showed that the electronic journals were created in May 2022, six months before
    the Netflix movie was released – not in 2015.

            The original file of Journal Set 1 was created on May 4, 2022, and first labeled
    Journals. [Exhibit J, Decl, ¶¶14-16] As Frankovitz declares under oath, the original
    google document was created on the google drive on May 4, 2022. It appears to have
    been copied and pasted from another platform and was 1893 words in length. [Exhibit K
    – First Version of Journal Set 1] It bears virtually no resemblance to the version that was
    sent to agent McGinnis and produced by the government in Rule 16 disclosures.
    [Compare Exhibit K with Exhibit A] Most notably, the first version contained no dates
    and did not even mention OneTaste. The document went through significant edits and the
    final version was saved on March 9, 2023. The final version had 10,037 words and the

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           Mr. Frankovitz only received access to the google drive and was not permitted to
    preserve the data by downloading it. Thus, Defendants do not have access to the
    necessary data to provide to their own expert which is why they have brought this
    motion.
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Case 1:23-cr-00146-DG-RML           Document 213        Filed 12/02/24      Page 7 of 10 PageID #:
                                            3404




    opening paragraph began with “Series One: Darkness” as reflected above. [Exhibits A-
    C] The google drive link showed that           Autymn, the Netflix filmmaker Sarah
    Gibson and others had access privileges to Journal Set 1. The document was edited
    hundreds of times, and only the final version was sent to agent McGinnis on March 9,
    2023. In simple terms, the Journal Set 1 that was produced to Defendants in this case
    purporting to be         journal entries from 2015 was actually created on May 4, 2022,
    and was an evolving document authored by numerous people.

            Similarly, the original file of Journal Set 2 was created on the shared google drive
    on May 25, 2022, and underwent 18 minor revisions. Journal Set 2 was accessible to
           and Autymn and at least one other person who had editing privileges. On March
    9, 2023, the permissions were changed to allow            as an editor to the file and the
    Netflix filmmaker Sarah Gibson as a viewer. That same day,              sent the Journal Set 2
    to agent McGinnis. In simple terms, Journal Set 2 was authored on May 25, 2022, not
    2015, and underwent various revision by people other than

            Critically, Exhibit B to Mr. Frankovitz’s Declaration shows the dramatic
    differences between the first version of Journals Set 1 created on the google drive on May
    5, 2022, and the final version that was sent to agent McGinnis.

       The Handwritten Journals Appear to Have Been Created After the Electronic
                               Journal Sets Not Before

            Defendants anticipate that the government will claim that           wrote the
    handwritten journals in 2015 and provided them to her sister in 2022 to transcribe for use
    in the Netflix move. This theory does not hold up because the handwritten journals mirror
    the final edited version of the electronic version – not the first version.

             Defendants are in possession of the many edited versions of Journal Set 1 which
    show how the document evolved from its creation on May 4, 2022, until March 9, 2023,
    when it was shared with Agent McGinnis. If Autymn was merely transcribing her sister’s
    2015 handwritten journals in a google document created in 2022, the first version of the
    google document should be identical, or nearly identical, to the handwritten journal. That
    is not the case here. Rather, it is the final highly edited version of the google document
    dated March 9, 2023, that mirrors the handwritten entries. For illustration purposes only,
    the new expert material shows that on March 9, 2023,              removed ‘red eye’ from the
    sentence “I left New York on a red eye flight” from the google document; the final
    version that was sent to McGinnis also does not include the word ‘red eye.’ If the
    handwritten journals were the original document prepared in 2015, it should reflect the
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Case 1:23-cr-00146-DG-RML          Document 213        Filed 12/02/24      Page 8 of 10 PageID #:
                                           3405




    word ‘red eye” since this edit was made eights year later. It doesn’t. The only inference to
    be drawn from this is that the handwritten journals were written after the electronic
    journals were finalizes. This means that the handwritten journal entry was not created
    until nearly a decade after       left OneTaste and was fabricated for Netflix and for the
    government’s use in this case.

            It is worth noting that the government either currently possesses this information
    or has the ability to obtain it. The government issued a search warrant to review
    hard drive back on October 29, 2024 (Bates ONETASTE00260554-
    ONETASTE00260583). It either has the metadata/edit history of the journals in its
    possession and has declined to examine it or it had the ability to obtain it. Defendants do
    not have the information and are entitled to it.

      The New Evidence Also Suggests Agent McGinnis Edited the Electronic Journal
                        Sets that Were Produced to Defendants.

             Perhaps more troubling, although unsurprising at this point, it would appear agent
    McGinnis may have tampered with evidence in this case. The electronic Journal Set 1
    that         shared with Agent McGinnis on March 9, 2023, mirrors the final version of
    the file that was obtained on Autymn’s google drive that same day. As reflected in
    Frankovitz’s report, the final version of the google drive document included the “Series
    One: Darkness” heading. When Defendants received the Journal Sets in September 2023
    in a PDF format, the heading was gone. The evidence suggests that someone removed the
    heading before converting the document to a PDF. Clearly, the heading would have
    raised serious suspicion that the journals were written for Netflix in 2022 – not in 2015.
    Defendants would have been none the wiser but for the unaltered document having been
    produced in the civil case.

              Agent McGinnis’s conduct continues to raise troubling questions about the
    integrity of this investigation. As set out in Defendants’ motions to dismiss, McGinnis
    was responsible for obtaining privileged documents from a witness and failing to produce
    it to a filter team. According to                , McGinnis guided or directed her to delete
    her email account which is why she was unable to produce discoverable information in
    the pending civil case. At least two witnesses have complained about McGinnis’s
    coercive interview tactics as provided in declarations. Autymn Blanck testified under
    oath during a deposition that McGinnis suggested to her that she could avoid producing
    the “handwritten journals” and a hard drive in discovery by sending it to him because
    “you can’t produce what you don’t have.” The California state court judge entered an
    Order commanding the FBI to return the journals and the hard drive that Autymn gave to
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Case 1:23-cr-00146-DG-RML          Document 213         Filed 12/02/24     Page 9 of 10 PageID #:
                                           3406




    McGinnis (without making a copy) after receiving a subpoena requesting the material.
    [Exhibit L – Hon. Rupert A Byrdsong Order (9/9/2024)] Unsurprisingly, the FBI has paid
    no mind to the Order. It now appears as if agent McGinnis may have altered a document
    by removing a heading to make it appear more authentic. Alternatively, the heading was
    removed by someone other than McGinnis. Either way, Defendants are entitled to know
    who removed it.

                                            Conclusion

            While Defendants now have Frankovitz’s expert declaration which provides a
    strong factual basis for their request, Defendants need the actual metadata and edit history
    of these electronic journals data to provide to their own expert for analysis. Frankovitz
    cannot serve as Defendants’ expert in this case. Defendants have been seeking this
    information from the government since mid-July with no cooperation. In fact, the
    government has been in possession of the google documents that             sent McGinnis
    on March 9, 2023, and have refused to produce it in its original form despite a specific
    request for it. The government has been in possession of             handwritten journals and
    hard drive since April but did not produce the handwritten journals (which now appear on
    their exhibit list) until July 30, 2024, and November 15, 2024, respectively. These
    materials were clear Brady material that was specifically requested in July. The
    government repeatedly claims that it complied with its Brady obligations and had no
    obligation to provide anything beyond what was provided. If the government had it their
    way, Defendants would have forever been denied a fair opportunity to challenge the
    veracity of these important government Exhibits which appear on the government’s
    exhibit list and which played a central role in their motions in limine. But for the more
    liberal discovery rules in the state civil case (where ironically only money is at stake),
    Defendants would have had no basis on which to credibly allege that             fabricated
    evidence and McGinnis may have tampered with it.

             Defendants respectfully request leave to issue Rule 17 subpoenas for review by
    their retained experts. [Exhibit M – Proposed Rule 17 Language] Defendants further
    request an Order requiring the government to produce the Journal Sets in their original
    form that were sent to McGinnis in March 2023 along with any other documents that
            sent to McGinnis in a google folder.3 Defendants further reserve the right to seek
    additional relief once a proper and thorough analysis is conducted.

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            Section 3500 material shows that           provided various documents with agent
    McGinnis via a shared google drive. In fact,           even gave McGinnis editing
    privileges on at least one set of her journals. [Exhibit D]
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Case 1:23-cr-00146-DG-RML           Document 213 Filed 12/02/24               Page 10 of 10 PageID #:
                                             3407




            The government has yet to provide any grounds for concealing                 identity,
    particularly given the fact that the issues identified in this letter are publicly debated in a
    parallel litigation and her journals were read aloud by her sister Autymn in the Netflix
    movie. But since there has been no formal finding on this issue, Defendants have filed
    this motion and exhibits under seal and a redacted version of this letter on the docket.
    Defendants have a standing objection to this procedure where it clearly emboldens
    witnesses to be less than forthcoming if they can hide behind sealed documents, the
    precise risk the Sixth and First Amendment is designed to guard against.


                                                    Respectfully Submitted,

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